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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


   Civil Action No. 1:17-cv-02224-PAB-MEH


   JAMI BORGMANN, individually and on behalf of minor children, S.B. and E.B.,
   JUSTIN BORGMANN, individually and on behalf of minor children, S.B. and E.B.,
   TONY AUYANG, an individual,
   MARY RITZ, an individual,
   JAMES RITZ, an individual,
   ROBBY ORBANOSKY, an individual,
   JUDITH ORBANOSKY, an individual,
   HANNAH ORBANOSKY, an individual,
   PHILIP WINTERLAND, an individual,
   JOSLYN WINTERLAND, an individual,
   STEVAN ADJEMIAN, an individual,
   ASHLEY ADJEMIAN, an individual,
   KELSEY HERRICK, individually and on behalf of minor children, D.H, M.H., and M.H,
   JEFFREY HERRICK, individually and on behalf of minor children, D.H, M.H., and M.H,

   Plaintiffs,
   v.

   WEYERHAEUSER COMPANY,
   WEYERHAEUSER NR COMPANY,

   Defendants.


                   STIPULATED MOTION TO DISMISS WITH PREJUDICE


           The above-captioned Plaintiffs (“Plaintiffs”) and Defendants Weyerhaeuser Company and

   Weyerhaeuser NR Company (“Weyerhaeuser”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii),

   jointly move this Court for an Order dismissing with prejudice each and every claim asserted by

   Plaintiffs against Weyerhaeuser in this civil action, with each party to bear its own attorneys’ fees

   and costs.
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          The parties hereby move the Court to enter an Order for Dismissal with Prejudice of all

   claims asserted in the above-captioned matter.

          A proposed Order is attached for signature by the Court.

          Dated this 13th day of August, 2019.


   Perkins Coie, LLP                                          The Nelson Law Firm, LLC
   /s/Craig M. J. Allely                                      /s/Mark W. Nelson
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   Michael Sink, #36064                                       Colleen S. Nelson, #36942
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                                   CERTIFICATE OF SERVICE
          I hereby certify that on August 13, 2019, I electronically filed the foregoing with the Court
   using the CM/ECF system which will send notification of such filing to the following e-mail
   addresses:

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                                                                /s/ Ansley Smith
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